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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-1577-JRG-RSP
                                    §
vs.                                 §               LEAD CASE
                                    §
TECHNICAL CONSUMER PRODUCTS, §
INC.                                §
                                    §
      Defendant.                    §
___________________________________ §


           PLAINTIFF’S UNOPPOSED MOTION TO DISMISS DEFENDANT
           TECHNICAL CONSUMER PRODUCTS, INC. WITH PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Rothschild
Connected Devices Innovations, LLC (“Rothschild”) dismisses its claims against Technical
Consumer Products Inc. with prejudice, and each party bear its own attorneys’ fees and costs.
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Dated: December 16, 2015                       Respectfully submitted,
                                               /s/Jay Johnson
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                               CERTIFICATE OF CONFERENCE

The undersigned certifies that, on December 16, 2015, he met and conferred with Defendant’s counsel
concerning this motion and that Defendant’s counsel agrees to this motion.

                                               /s/ Jay Johnson                         _
                                               Jay Johnson


                                   CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
December 16, 2015.
                                               /s/Jay Johnson
                                               Jay Johnson
